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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION


  MORRIS & DICKSON CO.                              CIVIL ACTION NO.: 18-1406

  VERSUS                                            JUDGE ELIZABETH ERNY FOOTE

  MATTHEW G. WHITAKER, ET AL.                       MAGISTRATE JUDGE HORNSBY


                                 MEMORANDUM RULING

         Morris & Dickson Co. (“Morris & Dickson”) is a full-line pharmaceutical wholesaler,

  part of whose business consists of distributing controlled substances. [Record Document 1 at

  6]. Concerned that Morris & Dickson had an insufficient program in place to prevent

  diversion of hydrocodone and oxycodone, the Drug Enforcement Administration (“DEA”)

  began proceedings to revoke Morris & Dickson’s authorization to distribute controlled

  substances. [Id. at 8]. Morris & Dickson filed the instant action, seeking to enjoin further

  proceedings before the DEA’s Administrative Law Judge (“ALJ”) on the grounds that he

  was unconstitutionally appointed and is unconstitutionally shielded from removal at will. [Id.

  at 13–16]. Because this Court lacks jurisdiction over Morris & Dickson’s challenge to the

  ongoing administrative adjudication, this case is DISMISSED WITHOUT PREJUDICE.

  I.     Background

         Morris & Dickson holds two DEA registrations that allow it to distribute controlled

  substances. [Id. at 5]. On May 2, 2018, the Acting Administrator of the DEA began the

  process of revoking these registrations by issuing an Order to Show Cause and an Immediate

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  Suspension of Registration (“ISO”), which asserted that Morris & Dickson maintained an

  inadequate anti-diversion program. [Id. at 8]. In response, Morris & Dickson filed suit to

  enjoin enforcement of the ISO. [Id.]. Following a hearing before the undersigned, this Court

  temporarily restrained enforcement of the ISO, but allowed the revocation proceeding to go

  forward. [Id. at 9]. Before a hearing could be held on the motion for a preliminary injunction

  against the ISO, the DEA rescinded that order. [Id.]. This Court then dismissed the case.

  Morris & Dickson Co. v. Sessions, No. 5:18-cv-605 (W.D. La. May 22, 2018).

         The DEA ALJ, Charles Dorman, set the show-cause hearing on the DEA’s

  allegations for November 13, 2018. [Record Document 1 at 11]. In order to prevent the

  hearing from going forward, Morris & Dickson filed this suit, which seeks an injunction and

  a declaratory judgment that further proceedings before Judge Dorman would violate the

  Constitution. [Record Documents 1 at 18 and 2 at 2–3].

         Under the Appointments Clause of Article II, inferior officers of the United States

  must be appointed by the President, the courts, or the heads of executive departments. Lucia

  v. SEC, 138 S. Ct. 2044, 2051 (2018) (citing U.S. Const. art. II, § 2, cl. 2). Morris & Dickson

  argues that DEA ALJs are inferior officers. [Record Document 1 at 11–13]. If they are, then

  they must be appointed by one of the three authorities listed in the Appointments Clause. See

  Lucia, 138 S. Ct. at 2051. The Controlled Substances Act (“CSA”) incorporates by reference

  provisions of the Administrative Procedure Act (“APA”) controlling ALJs’ appointments

  and their employment protections. See 21 U.S.C. 824 (citing 5 U.S.C. 551–559). 1 In


         1   The CSA requires that all revocation proceedings be conducted in accordance with
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  accordance with these provisions, Judge Dorman was appointed by the DEA Administrator.

  [Record Document 1 at 14]. Morris & Dickson contends the DEA is not an executive

  department for purposes of the Appointments Clause because the DEA resides within the

  Department of Justice (“DOJ”). [Id. at 14–15]. If that is true, then the department head with

  the appointing power is the Attorney General, not the DEA Administrator. See 28 U.S.C.

  § 503. From this, Morris & Dickson concludes that Judge Dorman was unconstitutionally

  appointed. [Record Document 1 at 15].2

         Morris & Dickson also alleges that the removal procedures for the DEA ALJs are

  unconstitutional. [Id. at 15–16]. The Constitution vests the President with the executive

  power, U.S. Const. art. II, § 1, cl. 1, and obligates him to “take Care that the Laws be

  faithfully executed,” id. art. II, § 3. These provisions are violated when officers have more

  than one layer of protection against removal at will. Free Enter. Fund v. Public Co. Accounting

  Oversight Bd., 561 U.S. 477, 496 (2010). DEA ALJs, such as Judge Dorman, may be removed

  by the agency “only for good cause established and determined by the Merit Systems

  Protection Board.” 5 U.S.C. § 7521(a). Members of that board, in turn, “may be removed by



  subchapter II of the APA. 21 U.S.C. § 824. Among the provisions of that subchapter is a
  requirement that adjudicative hearings be conducted by “(1) the agency; (2) one or more
  members of the body which comprises the agency; or (3) one or more administrative law
  judges appointed under section 3105 of this title.” 5 U.S.C. § 556(b). Under § 3105, ALJs are
  appointed by the agency for whom they will conduct proceedings. 5 U.S.C. § 3105; see 21
  C.F.R. § 1316.52 (“A presiding officer, designated by the [DEA] Administrator, shall preside
  over all hearings.”).

         2 The Attorney General has ratified Judge Dorman’s appointment, though the parties
  dispute whether this ratification satisfies the requirements of Article II. [Record Document
  38].
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  the President only for inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C.

  § 1202(d). Morris & Dickson argues that this double layer of for-cause protection

  unconstitutionally interferes with the President’s obligation to take care that the laws are

  faithfully executed. [Record Document 1 at 16].

         After reviewing Morris & Dickson’s complaint, this Court ordered briefing on the

  question of jurisdiction. [Record Document 15]. Two days later, Judge Dorman cancelled the

  show-cause hearing, thereby mooting Morris & Dickson’s request for an interim order

  enjoining it. [Record Documents 22 at 3 and 23 at 1]. After this Court set a schedule for

  ruling on jurisdiction and, if necessary, on the merits, Judge Dorman stayed the enforcement

  proceeding pending this Court’s resolution of Morris & Dickson’s constitutional case.

  [Record Documents 27, 28, and 30].

         Defendants Matthew G. Whitaker (the Acting Attorney General), Uttam Dhillon (the

  Acting Administrator of the DEA), the DEA, the DOJ, and the United States (collectively,

  “Defendants”) argue that this Court lacks jurisdiction and that Morris & Dickson’s claims are

  unripe. [Record Document 24 at 7–19]. They believe that Supreme Court precedent requires

  Morris & Dickson to complete the administrative process and obtain a final order from the

  DEA Administrator before pursuing its constitutional claims in an appeals court. [Id. at

  9–14]. Morris & Dickson contends that this Court has jurisdiction to enjoin unconstitutional

  administrative proceedings at any time and that, if this Court declines to exercise jurisdiction,

  Morris & Dickson will face the irreparable harm of forced participation in such a proceeding.

  [Record Document 26 at 2–8].

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  II.    Law and Analysis

         “Federal courts are courts of limited jurisdiction . . . .” Quinn v. Guerrero, 863 F.3d 353,

  358 (5th Cir. 2017) (citing Arbaugh v. Y&H Corp., 546 U.S. 500, 513 (2006)). As a result, they

  have a “duty to continually, and sua sponte, assess their jurisdiction.” USPPS, Ltd. v. Avery

  Dennison Corp., 647 F.3d 274, 284 (5th Cir. 2011). Thus, this Court must determine whether it

  has subject matter jurisdiction over Morris & Dickson’s constitutional claims, which have

  been raised in response to the ongoing administrative adjudication before Judge Dorman.

         A.      The Statutory Scheme

         The CSA grants the DEA the authority to regulate, among other things, the

  distribution of controlled substances “with the goal of creating a closed system of

  distribution.” Keysource Med. Inc. v. Holder, No. 1:11-cv-393, 2011 WL 3608097, at *1 (S.D.

  Ohio Aug. 16, 2011). Companies that distribute controlled substances, such as Morris &

  Dickson, must annually obtain a DEA registration. 21 U.S.C. § 822(a)(1); 21 C.F.R.

  § 1301.11(a). When evaluating a distributor’s application, the DEA considers whether the

  registration is “inconsistent with the public interest” in light of the following factors:

         (1) maintenance of effective control against diversion of particular controlled
         substances into other than legitimate medical, scientific, and industrial
         channels;
         (2) compliance with applicable State and local law;
         (3) prior conviction record of applicant under Federal or State laws relating to
         the manufacture, distribution, or dispensing of such substances;
         (4) past experience in the distribution of controlled substances; and
         (5) such other factors as may be relevant to and consistent with the public
         health and safety.

  21 U.S.C. § 823(b). In order to reduce the risk of diversion, a distributor

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         shall design and operate a system to disclose to the registrant suspicious orders
         of controlled substances. The registrant shall inform the Field Division Office
         of the Administration in his area of suspicious orders when discovered by the
         registrant. Suspicious orders include orders of unusual size, orders deviating
         substantially from a normal pattern, and orders of unusual frequency.

  21 C.F.R. § 1301.74(b).

         The DEA Administrator may suspend or revoke a license on various grounds,

  including a “finding that the registrant . . . has committed such acts as would render his

  registration under section 823 of this title inconsistent with the public interest as determined

  under such section.” 21 U.S.C. § 824(a)(4). Before revoking a registration, the DEA must

  issue a rule to show cause describing the grounds for revocation and conduct a hearing in

  accordance with the APA. Id. § 824(c); 21 C.F.R. § 1301.37(c). Following the hearing, the

  presiding ALJ issues a report recommending findings of fact and conclusions of law; the ALJ

  forwards this report and the administrative record to the DEA Administrator. Id.

  § 1316.65(a),(c). The Administrator, as the Attorney General’s delegate, then issues a final

  order, supported by findings of fact and conclusions of law. Id. § 1316.67. A party “aggrieved

  by a final decision” of the DEA Administrator may then appeal to the Court of Appeals for

  the District of Columbia Circuit or for the circuit in which the party’s principal place of

  business is located. 21 U.S.C. § 877.

         B.      The Legal Framework

         Although district courts typically have jurisdiction over all questions arising under the

  Constitution, 28 U.S.C. § 1331, Congress may impliedly preclude that jurisdiction and route

  review of agency actions through other courts, see, e.g., Thunder Basin Coal Co. v. Reich, 510 U.S.

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  200, 207 (1994). To determine whether jurisdiction is impliedly precluded, a court must first

  ask whether congressional intent to preclude jurisdiction is “fairly discernable” from the text,

  structure, and purpose of the statute establishing the agency review scheme. Elgin v. Dep’t of

  Treasury, 567 U.S. 1, 10 (2012) (citing Thunder Basin, 510 U.S. at 207; United States v. Fausto, 484

  U.S. 439, 443 (1988), superseded by statute on other grounds, Civil Service Due Process

  Amendments, Pub. L. No. 101-376, 104 Stat. 461 (1990)). If so, the court must turn to a

  second question: are “the claims at issue ‘ . . . of the type Congress intended to be reviewed

  within th[e] statutory structure?’” Free Enter. Fund, 561 U.S. at 489 (quoting Thunder Basin, 510

  U.S. at 212). To answer this question, a court must apply the Thunder Basin factors: (1)

  whether “a finding of preclusion could foreclose all meaningful judicial review;” (2) whether

  the claims are “wholly ‘collateral’ to a statute’s review provisions;” and (3) whether the claims

  fall “outside the agency’s expertise.” Thunder Basin, 510 U.S. at 212–13.

         This framework evolved through three Supreme Court decisions. As these decisions

  will control this Court’s determination of its own jurisdiction, a somewhat detailed

  presentation of them is required. In the first, Thunder Basin Coal Co. v. Reich, miners at a

  non-union mine selected two non-employee union organizers to serve as their

  representatives during mine inspections. Id. at 204. Federal regulations require a mine

  operator to post information identifying the employees’ representatives. Id. Thunder Basin

  argued to the Mine Safety and Health Administration (“MSHA”) that the miners’ selection

  violated the company’s right under the National Labor Relations Act (“NLRA”) to exclude

  union organizers from company property. Id. at 204–05. Thunder Basin further contended

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  that requiring it to post the representatives’ information would deny due process by forcing

  the company to choose between violating the Mine Act and incurring penalties or complying

  with the act and suffering irreparable harm. Id. The MSHA responded with a letter

  instructing Thunder Basin to post the required information. Id. at 204. Before receiving the

  letter, the company filed suit in district court seeking to enjoin any enforcement actions by

  the Secretary of Labor. Id. at 205.

         The Supreme Court held that the district court lacked jurisdiction over this challenge

  to a prospective agency determination. Id. at 216. A mine operator who objects to sanctions

  imposed by the Secretary of Labor for violations of the Mine Act may seek review before the

  Mine Safety and Health Review Commission (“Commission”), an independent agency, and

  then, if still aggrieved, before a court of appeals. Id. at 204 (citing 30 U.S.C. §§ 815–816, 823).

  The Court first concluded that the structure and legislative history of the Mine Act indicate

  congressional intent to channel review of all violations of the Mine Act through the

  Commission and the appeals courts. Id. at 208–09. In the Court’s view, it was particularly

  significant that Congress created two exceptions to the statutory review process, both of

  which allow the Secretary (but not an aggrieved operator) to seek an injunction in district

  court. Id. at 209. The Court then held that Thunder Basin’s statutory and constitutional

  claims could both receive meaningful judicial review. Id. at 213–215. Although the

  Commission has no particular expertise in applying the NLRA, the Court concluded that the

  Commission’s familiarity with mine operations could helpfully inform any decision regarding

  the application of the NLRA. Id. at 214–15. When considering the due process challenge, the

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  Court held that the availability of review in the appeals court was sufficiently meaningful,

  distinguishing this situation from the one that would arise if Congress purported to preclude

  all judicial review of a constitutional claim. Id. at 215 & n.20 (citing Weinberger v. Salfi, 422

  U.S. 749, 762 (1975)).

            Sixteen years later, the Supreme Court revisited this jurisdictional issue in Free

  Enterprise Fund v. Public Company Accounting Oversight Board. 561 U.S. 477. Before deciding

  whether statutes providing officers with multiple layers of protection against removal at will

  were constitutional, the Court determined that the district court had jurisdiction to address

  that question. Id. at 491. 3 The Sarbanes-Oxley Act established the Public Company

  Accounting Oversight Board (“PCAOB”) under the authority of the Securities and Exchange

  Commission (“SEC”). Id. at 484 (citing Sarbanes-Oxley Act of 2002, Pub. L. No. 107-204,

  116 Stat. 745 (2002)). The PCAOB acts as a typical agency, issuing rules the violation of

  which can be criminally prosecuted as violations of the Securities Exchange Act and

  engaging in enforcement proceedings, which can lead to very significant monetary and

  professional sanctions. Id. at 485. A party aggrieved by a new rule or by a disciplinary

  sanction may appeal to the SEC and thence to a court of appeals. Id. at 489 (citing 15 U.S.C.

  § 78y).

            Following a PCAOB report critical of its accounting practices, an accounting firm, in

  conjunction with the Free Enterprise Fund, filed suit in district court challenging the


            Although the majority opinion drew a strong dissent, the dissent did not mention
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  jurisdiction, thus implicitly endorsing the majority’s view. See Free Enter. Fund, 561 U.S. at
  514-49 (Breyer, J., dissenting).
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  constitutionality of the removal protections for PCAOB members. Id. at 487. The Supreme

  Court applied the Thunder Basin factors to find that the district court had jurisdiction over this

  challenge. Id. at 491. The Court noted that there are only two ways in which the petitioners

  could have obtained judicial review of the PCAOB’s structure. Id. at 490. They could have

  waited until the PCAOB announced a new rule and then challenged that rule before the

  SEC. Id. The alternate approach would have been to deliberately violate a PCAOB rule or

  order and incur a sanction. Id. In either case, if the SEC affirmed the PCAOB, there would

  then be a judicial forum for the constitutional challenge. See id. at 489. Because not every

  PCAOB action gives rise to an SEC order that can then be challenged in an Article III court,

  the necessity of these peculiar procedures to generate the preconditions for judicial review

  meant that review was not “meaningful.” Id. at 490–91. The Court also suggested, without

  any discussion, that the “general challenge” to the PCAOB’s “existence” was “‘collateral’ to

  any [SEC] orders or rules from which review might be sought.” Id. at 490. Finally, the Court

  distinguished Thunder Basin by noting that the mine operator’s complaints were primarily

  statutory and thus provided an opportunity for the agency to deploy its expertise, something

  lacking in the “standard questions of administrative law” raised by the petitioners. Id. at 491.

         Two years later, the Court reached the opposite conclusion in Elgin v. Department of

  Treasury. 567 U.S. 1. In that case, several federal employees were terminated or (allegedly)

  constructively discharged for failing to register for selective service in violation of the Civil

  Service Reform Act (“CSRA”). Id. at 7 (citing 5 U.S.C. § 3328). Seeking reinstatement and

  backpay, they filed suit in district court, where they alleged that the selective-service

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  requirement violated the Equal Protection Clause and constituted a bill of attainder. Id.

         The Supreme Court held that the CSRA stripped the district court’s jurisdiction to

  consider the petitioners’ constitutional challenges. Id. at 23. Under the CSRA, most federal

  employees who suffer an adverse employment action must proceed before the Merit Systems

  Protection Board (“MSPB”). Id. at 6 (citing 5 U.S.C. §§ 7513(d), 7701(a)). If dissatisfied at

  that stage, employees may appeal to the Federal Circuit. Id. (citing 5 U.S.C. § 7703(b)(1)(A);

  28 U.S.C. § 1295(a)(9)). The Court concluded that it was fairly discernable from the

  “painstaking detail with which the CSRA sets out the method for covered employees to

  obtain review of adverse employment actions” that Congress intended to preclude district

  court review. Id. at 11–12. The Court also noted that the CSRA specifically exempted claims

  that an adverse employment action violated certain antidiscrimination statutes. Id. at 13

  (citing 5 U.S.C. §§ 7702(a)(1), 7703(b)(2)). Following an unfavorable MSPB decision, these

  claims may be raised in district court rather than in the Federal Circuit. Id. (citing 5 U.S.C.

  §§ 7702(a)(1), 7703(b)(2)). This provision “demonstrates that Congress knew how to provide

  alternative forums for judicial review based on the nature of an employee’s claim” such that

  the absence of an exception for constitutional claims indicated congressional intent to

  preclude jurisdiction. Id. According to the Court, the CSRA was to create an “‘integrated

  scheme of administrative and judicial review,’” a purpose that would be “seriously

  undermined” by allowing challenges framed in constitutional terms to be reviewed in district

  court while statutory challenges remained before the MSPB. Id. at 13–14 (quoting Fausto, 484

  U.S. at 445).

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           Turning to the Thunder Basin factors, the Court held that the mere fact that judicial

  review of the constitutional questions would be delayed until the matter was appealed to the

  Federal Circuit did not render that review unmeaningful. Id. at 17. 4 The Court further

  determined that the constitutional claims were not “wholly collateral” to the statutory review

  scheme because the relief sought (reemployment) was the same relief available under the

  CSRA. Id. at 22. In the Court’s view, the petitioners’ constitutional claims were merely the

  “vehicle by which they s[ought] to reverse the removal decisions [and] to return to federal

  employment.” Id. Finally, the Court proposed multiple ways in which the MSPB might bring

  its expertise to bear on threshold questions that “may obviate the need to address the

  constitutional challenge”: (1) by deciding that a particular employee was not constructively

  discharged; (2) by interpreting the CSRA provision at issue to “alleviate constitutional

  concerns;” or (3) by ruling in the employees’ favor on alternate statutory grounds. Id. at

  22–23.

           C.      Analysis

                1. “Fairly Discernable” Intent to Preclude District Court Jurisdiction

           Under § 877 of the CSA, a “final decision” of the DEA Administrator is reviewable in

  the appropriate court of appeals. 21 U.S.C. § 877. On review, the agency’s findings are fact

  are conclusive unless unsupported by substantial evidence. Id. When a path to Article III

  review is laid out in detail, it is fairly discernable that Congress did not intend to allow


           4 The Court declined to decide whether the MSPB was correct in its determination
  that it lacked the authority to decide whether the selective-service provision of the CSRA was
  unconstitutional. Elgin, 567 U.S. at 17.
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  regulated entities access to immediate review in district court. Elgin, 567 U.S. at 11–12.

  Although the CSA is less “painstaking[ly] detail[ed]” than the CSRA, id. at 11, the CSA

  nevertheless reflects an intent to force claims related to DEA registrations to proceed

  through an administrative process before judicial review begins in an appeals court, see, e.g.,

  John Doe, Inc. v. DEA, 484 F.3d 561, 569 (D.C. Cir. 2007) (“21 U.S.C. § 877’s exclusive

  jurisdiction provision is . . . broad[] . . . .”). The deference to the DEA Administrator’s

  findings of fact reinforces this Court’s view of that intent. See 21 U.S.C. § 877. After all, there

  are only facts to which a court can defer if the DEA Administrator has already issued a final

  ruling.5 The CSA also contains a provision for district court review of civil penalties for drug

  possession. Id. § 844a(g). As in Thunder Basin, 510 U.S. at 209, and Elgin, 567 U.S. at 13, the

  absence of a similar provision covering Morris & Dickson’s separation-of-powers claims

  indicates Congress’s intent that such claims be heard by an appeals court following the

  conclusion of agency proceedings.

         Morris & Dickson’s counterargument is based on the language of § 877, which directs

  that review of “[a]ll final determinations, findings, and conclusions of the Attorney General

  under this subchapter” be undertaken by the appeals courts. 21 U.S.C. § 877 (emphasis

  added). In Morris & Dickson’s view, this language indicates congressional intent to channel

  only those claims related to the interpretation and application of the CSA, not other types of

  claims such as their appointment and removal challenges. [Record Document 32 at 15–16].


         5  Although the Supreme Court has held that the degree of deference is irrelevant to
  an Appointments Clause analysis, Lucia, 138 S. Ct. at 2054 (citing Freytag v. Comm’r of Internal
  Revenue, 501 U.S. 868 (1991)), it did not deem deference irrelevant to a jurisdictional analysis.
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  However, Morris & Dickson’s proposed reading is inconsistent with that adopted for

  analogous provisions in other statutes, such as the Securities Exchange Act. See, e.g., Hill v.

  SEC, 825 F.3d 1236, 1244 (11th Cir. 2016). That act provides for judicial review in the

  appeals courts of “final order[s] of the Commission entered pursuant to this chapter,” 15

  U.S.C. § 78y (emphasis added), while the CSA authorizes such review of “[a]ll final

  determinations . . . of the Attorney General under this subchapter,” 21 U.S.C. § 877

  (emphasis added). The operative terms differ in the two statutes (“pursuant to” versus

  “under”), but Black’s Law Dictionary defines “pursuant to” as “under.” Pursuant to, Black’s

  Law Dictionary (10th ed. 2014). It follows that a more likely explanation than a congressional

  intent for the provisions to have different meanings is that the language of the CSA (enacted

  in 1970) reflects the shift away from the legalese common when the Securities Exchange Act

  was drafted in 1934. As a result, this Court concludes that § 78y and § 877 should have the

  same effect on district court jurisdiction.

         While Free Enterprise Fund reveals that § 78y does not preclude district court

  jurisdiction in all cases, the Supreme Court reached that conclusion based on the Thunder

  Basin factors rather than on the question of fairly discernable intent. See 561 U.S. at 491.

  Following that decision, every court of appeals to consider § 78y has held that it is fairly

  discernable that Congress “inten[ded] to channel all objections to a final Commission

  order—including challenges to the constitutionality of the SEC ALJs or the administrative

  process itself—into the administrative forum and to preclude parallel federal district court

  litigation.” Hill, 825 F.3d at 1252 (emphasis added); see Bennett v. SEC, 844 F.3d 174, 182 (4th

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  Cir. 2016); Tilton v. SEC, 824 F.3d 276, 282 (2d Cir. 2016); Bebo v. SEC, 799 F.3d 765, 767

  (7th Cir. 2015); see also Jarkesy v. SEC, 803 F.3d 9, 16 (D.C. Cir. 2015) (“We can fairly discern

  Congress’s intent to preclude suits by respondents in SEC administrative proceedings in the

  mine-run of cases.”).6 Although this authority does not bind this Court, the unanimity of

  these courts renders their holdings strongly persuasive. This Court thus rejects Morris &

  Dickson’s argument that the phrase “under this subchapter” confines the statutory review

  procedure to questions regarding the application of the CSA. Instead, this Court concludes

  that it is fairly discernable that § 877, the provision of the CSA analogous to § 78y,

  demonstrates Congress’s intent to channel review of claims raised by parties to DEA

  enforcement proceedings through the agency and then to the courts of appeals.

             2. Thunder Basin Factors

         The question this Court must now answer is whether the intent to preclude

  jurisdiction extends to Morris & Dickson’s separation-of-powers claims. To do so, this Court

  must ask “if ‘a finding of preclusion could foreclose all meaningful judicial review’; if the suit

  is ‘wholly “collateral” to a statute’s review provisions’; and if the claims are ‘outside the

  agency’s expertise.’” Free Enter. Fund, 561 U.S. at 489 (quoting Thunder Basin, 510 U.S. at

  212–13).




         6 Morris & Dickson points out that these cases precede Lucia v. SEC, in which the
  Supreme Court held that the process by which SEC ALJs were appointed was
  unconstitutional. 138 S. Ct. 2044. However, Lucia did not address the jurisdictional issue
  presented here because Lucia pressed his case before an ALJ, on appeal to the SEC, and
  thence to the D.C. Circuit. Id. at 2050.

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                      a.   “Meaningful Judicial Review” Factor

         The first Thunder Basin factor—whether review by means of the established statutory

  procedure will be “meaningful judicial review”—is the most significant of the three. See Free

  Enter. Fund, 561 U.S. at 490–91; see also Tilton, 824 F.2d at 282 (holding that when this factor

  “weighs strongly against district court jurisdiction,” “closer questions” on the other factors

  are insufficient to give rise to district court jurisdiction). If this Court lacks jurisdiction, then

  Morris & Dickson will be compelled to defend its conduct before Judge Dorman who will

  make a recommendation to the DEA Administrator. See 21 U.S.C. § 824(c); 21 C.F.R.

  § 1316.65(a),(c). 7 If the Administrator finds against Morris & Dickson, the company may

  then appeal to the D.C. Circuit or to the Fifth Circuit. See 21 U.S.C. § 877. As a result, even if

  Judge Dorman declines to address the constitutional questions, 8 they will be decided on

  appellate review.

         Morris & Dickson admits that its constitutional claims will eventually be considered

  by an Article III court if the DEA issues a sanction. [Record Document 32 at 12].

  Nevertheless, Morris & Dickson insists that this review will not be meaningful because no

  remedy can restore the time, energy, and expense required to participate in the allegedly

  unconstitutional proceeding before Judge Dorman. [Record Documents 2-1 at 14, 26 at 4,


        Currently, the DEA has only an Acting Administrator, Uttam Dhillon. [Record
         7

  Document 1 at 5].
         8 Judge Dorman is unlikely to rule on Morris & Dickson’s separation-of-powers
  claims because he believes that he “is not in a position to rule on the constitutionality of [his]
  appointment as an ALJ or on any other matter raised in Respondent’s District Court
  motions.” [Record Document 22 at 3].

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  and 32 at 12–13]. Even if Morris & Dickson is correct regarding the available suite of

  remedies, the weight of authority counsels against finding that unrecoverable expenditures of

  time and money make appellate review of constitutional claims unmeaningful.

         When the Supreme Court announced meaningful judicial review as a factor in Thunder

  Basin, its concern was that preclusion of “all judicial review of a constitutional claim” would

  “present [a] ‘serious constitutional question.’” 510 U.S. at 215 n.20 (emphasis added)

  (quoting Bowen v. Mich. Acad. of Family Physicians, 476 U.S. 667, 681 n.12 (1986), superseded by

  statute on other grounds, Omnibus Budget Reconciliation Act of 1986, Pub. L. No. 99-509, 100

  Stat. 1874 (1986)). Here, of course, judicial review is merely delayed; it is not barred

  altogether.

         In FTC v. Standard Oil Co. of California, the Supreme Court specifically addressed the

  cost of participation in an administrative adjudication:

         [W]e do not doubt that the burden of defending this proceeding will be
         substantial. But the expense and annoyance of litigation is part of the social
         burden of living under government. As we recently reiterated: mere litigation
         expense, even substantial and unrecoupable cost, does not constitute
         irreparable injury.

  449 U.S. 232, 244 (1980) (internal citations and quotation marks omitted). Although Standard

  Oil’s claim was a statutory one (i.e., that the agency lacked the required “reason to believe”

  that the company was violating the law), id. at 234–35, multiple appeals courts have found

  that Standard Oil’s principle extends to separation-of-powers challenges to agency structure,

  see Hill, 825 F.3d at 1245–46; Tilton, 824 F.3d at 285–86; Bebo, 799 F.3d at 775. For these

  courts, the ability of an appellate court to vacate an agency’s judgment and remand for a new

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  hearing, “although imperfect, suffices to vindicate the litigant’s constitutional claim.” Tilton,

  824 F.3d at 285 (citing German v. Conn. Nat’l Bank, 930 F.2d 1038, 1040 (2d Cir. 1991)); see

  Hill, 825 F.3d at 1245–47; Bebo, 799 F.3d at 774–75. The Fifth Circuit has reached a similar

  conclusion in the ripeness context: “[w]e do not believe that the burden of participating in

  the proceeding before the ALJ is sufficient to constitute . . . irreparable harm . . . .” Pennzoil

  Co. v. FERC, 742 F.2d 242, 245 (5th Cir. 1984) (citing Standard Oil, 449 U.S. at 244; Petroleum

  Exploration, Inc. v. Public Serv. Comm’n, 304 U.S. 209, 222–23 (1938)). Based on this authority,

  this Court is persuaded that judicial review of Morris & Dickson’s constitutional claims

  following the conclusion of the DEA’s adjudication will be meaningful.

         Policy decisions made throughout the federal system support this Court’s reasoning.

  Federal courts regularly deprive litigants of immediate review of constitutional questions. See

  Tilton, 824 F.3d at 285 (collecting cases). For instance, a court has jurisdiction over a

  defendant’s person only if the exercise of jurisdiction complies with the mandates of the Due

  Process Clause. Walden v. Fiore, 571 U.S. 277, 283 (2014) (citing World-Wide Volkswagen Corp.

  v. Woodson, 444 U.S. 286, 291 (1980)). Nevertheless, if a defendant loses her challenge to the

  court’s jurisdiction, she must undergo the expense, inconvenience, and stress of being a party

  to litigation in district court before her due process claim can be reviewed on appeal. See Van

  Cauwenberghe v. Biard, 486 U.S. 517, 526–27 (1988) (citing Catlin v. United States, 324 U.S. 229,

  236 (1945), superseded by statute on other grounds, Act of November 16, 1988, Pub. L. No.

  100-669, 102 Stat. 3969)) (“[T]he denial of a claim of lack of jurisdiction is not an

  immediately appealable collateral order.”). Similarly, as the D.C. Circuit has pointed out,

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  criminal defendants must generally face trial when a pretrial motion, even one raised on

  constitutional grounds, is denied. Jarkesy, 803 F.3d at 26 (citing Deaver v. Seymour, 822 F.2d 66,

  70 (D.C. Cir. 1987); 6 Wayne R. LaFave et al., Criminal Procedure § 27.2(b) (3d ed. 2007)).

  These examples demonstrate that post hoc review can be meaningful even if the only remedy

  is vacature of the decision of a tribunal that lacked the constitutional authority to adjudicate a

  matter. This Court does not believe that Morris and Dickson’s separation-of-powers

  challenges to Judge Dorman’s authority require a different approach.

         Morris & Dickson raises two main counterarguments. The first relies on last term’s

  decision in Lucia v. SEC. 138 S. Ct. 2044. In Lucia, the Supreme Court held that SEC ALJs

  are “officers of the United States” to whom the Appointments Clause applies. Id. at 2055.

  Believing that Lucia indicates that Judge Dorman was unconstitutionally appointed, Morris &

  Dickson insists that it will necessarily prevail on the merits of its challenge. [Record

  Document 32 at 19]. If that is true, Morris & Dickson then argues, requiring it to proceed

  before Judge Dorman is futile as any decision he makes will be vacated by the appeals court

  and the matter remanded for a new proceeding before a new ALJ. [Record Document 35 at

  5]. By pointing to the strength of its merits claim, Morris & Dickson conflates the standards

  for injunctive relief with the standards for establishing jurisdiction. A likelihood of success

  on the merits is an element of the former but not of the latter. See Janvey v. Alguire, 647 F.3d

  585, 595 (5th Cir. 2011) (citing Byrum v. Landreth, 566 F.3d 442, 445 (5th Cir. 2009)). In

  effect, Morris & Dickson asks this Court to hold that it has jurisdiction over a constitutional




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  challenge to a statutory review scheme that channels review from an agency to an appeals

  court if the challenger’s constitutional argument is certainly correct.9

         In support of its argument that Lucia is relevant to this Court’s jurisdiction, Morris &

  Dickson points to Leedom v. Kyne in which the Supreme Court considered whether a district

  court had jurisdiction to vacate an order of the National Labor Relations Board (“NLRB”).

  358 U.S. 184 (1958). The NLRA provides that a bargaining unit may be composed of a mix

  of professional and nonprofessional workers only if a majority of the professionals vote in

  favor of the nonprofessionals’ inclusion. 29 U.S.C. § 159(b)(1). The NLRB certified such a

  mixed bargaining unit without taking the required vote. Kyne, 358 U.S. at 186. Because the

  NRLB’s order was “made in excess of [the NLRB’s] delegated powers and contrary to a

  specific prohibition” in the NLRA, the Supreme Court found that the district court had

  jurisdiction to vacate the order. Id. at 188, 191. Under Kyne, “agency action ‘contrary to a

  specific mandate of . . . [an] Act [of Congress],’ is remediable judicially before administrative

  proceedings are at an end . . . .” Coca-Cola Co. v. FTC, 475 F.2d 299, 303 (5th Cir. 1973)

  (quoting Templeton v. Dixie Color Printing Co., 444 F.2d 1064, 1069 (5th Cir. 1971)); see also

  Energy Transfer Partners, LP v. FERC, 567 F.3d 134, 143 (5th Cir. 2009) (refusing to apply the

  Kyne rule when the court “can discern no plain statutory mandate”).

         Morris & Dickson believes that the CSA (through its reference to the APA, which in

  turn incorporates the statutory procedures for appointing and removing ALJs) violates the


         9This Court reaches no conclusion on the constitutionality of Judge Dorman’s
  appointment.

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  Constitution by allowing DEA ALJs to be improperly appointed and shielded from removal.

  [Record Document 1 at 14, 16]. Morris & Dickson does not contend that the DEA has

  violated the CSA. Thus, its complaint is not that an agency is violating an act of Congress

  (the situation in Kyne) but rather that Congress, by enacting the CSA and the APA, has

  violated Article II. In contrast to the explicit instruction in the NLRA, the textual bases of

  Morris & Dickson’s constitutional arguments are hardly “plain statutory mandate[s].” Energy

  Transfer Partners, 567 F.3d at 143. The Appointments Clause reads:

         [H]e shall nominate, and by and with the advice and consent of the Senate,
         shall appoint . . . all other officers of the United States, whose appointments
         are not herein otherwise provided for, and which shall be established by law:
         but the Congress may by Law vest the Appointment of such inferior Officers,
         as they think proper, in the President alone, in the Courts of Law, or in the
         Heads of Departments.

  U.S. Const. art. II, § 2, cl. 2. The textual basis of Morris & Dickson’s removal-power

  challenge is even less specific: “he shall take Care that the Laws be faithfully executed.” Id.

  art. II, § 3. While it is true that the Supreme Court has fleshed out the meaning of these

  underdetermined clauses, see, e.g., Lucia, 138 S. Ct. at 2051–55, nothing about Kyne suggests

  that district court jurisdiction may arise from a violation of open-ended constitutional

  provisions as interpreted by the Supreme Court. Without the Kyne exception, there is no

  reason to conclude that any strength of Morris & Dickson’s Appointment Clause challenge

  (on the basis of Lucia) alters the question of jurisdiction.

         Morris & Dickson’s second counterargument is that Free Enterprise Fund is “on all

  fours.” [Record Document 32 at 9]. In Morris & Dickson’s view, Free Enterprise Fund stands

  for the proposition that district courts have jurisdiction over any separation-of-powers
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  challenge to agency structure. [Id. at 10]. Although the Free Enterprise Fund Court did conclude

  that jurisdiction existed for a pre-enforcement challenge to agency structure, it did not state

  that jurisdiction existed simply because the petitioners raised separation-of-powers

  arguments. See 561 U.S. at 489–91. Rather, the Court instructed lower courts to ask whether

  the statutory scheme effectively requires a plaintiff to manufacture an avenue for review by,

  for instance, deliberately incurring a sanction. Id. at 490. In Free Enterprise Fund, an

  enforcement proceeding against the accounting firm had not begun, and there was no

  guarantee that the PCAOB’s investigation would lead to a reviewable SEC order. Id. at 487,

  490. In contrast, here it is certain that the proceeding before Judge Dorman will lead to a

  recommendation that the DEA Administrator will accept or modify when making his order;

  this order will be reviewable in the D.C. Circuit or the Fifth Circuit. Morris & Dickson need

  only wait for this review to occur. As the Fourth Circuit held when distinguishing Free

  Enterprise Fund, one who is “already embroiled in an enforcement proceeding” faces no

  additional risk by waiting to have a constitutional claim adjudicated at the end of the agency

  proceeding.10 Bennett, 844 F.3d at 186. Therefore, assuming that the administrative process


         10  The risk faced by the plaintiff also distinguishes Monson v. DEA, 589 F.3d 952 (8th
  Cir. 2009), which Morris & Dickson argues supports its contention that a facial challenge to
  an agency’s authority lies within a district court’s jurisdiction. [Record Document 26 at 4].
  Morris & Dickson is correct that Monson holds that a “district court could consider whether
  plaintiffs’ activities fell with the DEA’s jurisdiction at all.” [Id.]. In Monson, two North Dakota
  farmers wished to grow industrial hemp as authorized by state law and sought a declaratory
  judgment that the CSA does not apply to that activity and so they could not be criminally
  prosecuted. 589 F.3d at 960. Because there were no ongoing enforcement proceedings, there
  was no prospect of judicial review unless the district court exercised jurisdiction. See id. at
  961. Although the Eighth Circuit does not say so explicitly, it follows from that court’s
  argument that the farmers could have provoked enforcement by planting the hemp and
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  does not terminate in Morris & Dickson’s favor, 11 the company will receive Article III

  review of its constitutional claims. Because the DEA began the revocation process in

  response to Morris & Dickson’s past conduct, continued participation in the enforcement

  proceeding results from risks that the company assumed before the proceeding started;

  Morris & Dickson need assume no new risks in order to guarantee judicial review. This

  Court thus rejects Morris & Dickson’s overly broad reading of Free Enterprise Fund.

         When interpreting the provision of the Securities Exchange Act that is analogous to

  § 877 of the CSA, the Second, Fourth, Seventh, and Eleventh Circuits have held that

  meaningful review of separation-of-powers challenges can be had in an appeals court

  following agency adjudication. Bennett, 844 F.3d at 186; Hill, 825 F.3d at 1250; Tilton, 824

  F.3d at 286; Bebo, 799 F.3d at 773. Such review in this case might not restore resources spent

  defending against the enforcement action. But no authority holds that that expenditures of

  time and money suffice to make post-agency review unmeaningful. Morris & Dickson’s

  separation-of-powers challenges will have their day in court without the need for Morris &

  Dickson to do anything other than participate in the show-cause hearing before Judge

  Dorman. As a result, the Court concludes that Morris & Dickson will receive meaningful

  review of its constitutional claims at the appropriate time.



  risking criminal sanctions; it was this possible procedure that the Supreme Court later
  rejected in Free Enterprise Fund. 561 U.S. at 490-91.
         11 The Supreme Court discussed the possibility of a substantive agency verdict in
  favor of the regulated person as an aspect of the application of agency expertise. See Elgin,
  567 U.S. at 22-23. To the extent that the DEA might rule in Morris & Dickson’s favor, this
  would render judicial review unnecessary, but this Court sees no reason to conclude that that
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                    b. “Wholly Collateral” Factor

         This Court will now consider whether Morris & Dickson’s challenges to Judge

  Dorman’s appointment and to his removal protections are “wholly collateral” to the ongoing

  proceeding to revoke Morris & Dickson’s DEA registration. Elgin, 567 U.S. at 21. The

  meaning of this factor is “not free from ambiguity.” Bennett, 844 F.3d at 186. Because a claim

  is collateral where it is “accompanying, but secondary and subordinate to” another claim, the

  separation-of-powers and CSA claims are clearly collateral to one another. Collateral, Black’s

  Law Dictionary (10th ed. 2014). However, the Supreme Court requires that claims to be

  exempted from the statutory review procedure be “‘wholly collateral to a statute’s review

  provisions’”—in other words, to an agency’s adjudicative process itself. Elgin, 567 U.S. at 16

  (emphasis added) (quoting Free Enter. Fund, 561 U.S. at 489).

         Unfortunately, the Supreme Court has not provided a test by which to discriminate

  between claims that are collateral to a process and those that are wholly collateral. The

  closest the Court has come is a suggestion in Elgin that a claim is not wholly collateral to a

  statutory review proceeding if the relief sought under the constitutional claim is the same as

  that provided by the agency when reviewing statutory claims. Id. at 22. Thus, because the

  petitioners in Elgin sought reinstatement and backpay and because the MSPB “routinely

  affords” that same relief, the constitutional claims were not wholly collateral to the

  administrative process. Id. If Morris & Dickson successfully defends its registrations, its relief

  will be the end of administrative enforcement. Rather than dismissal of the revocation


  result says anything about the meaningfulness of review that does occur.
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  proceeding, the instant suits seeks to delay that proceeding via “[a]n order and judgment

  enjoining DEA and DOJ from carrying out an administrative proceeding against Morris &

  Dickson . . . unless and until a constitutionally valid system is in place.” [Record Document 1

  at 18 (emphasis added)].

         While a delay is distinguishable from a dismissal, this appears to be a distinction

  without a difference. For instance, when considering an Appointments Clause challenge to

  an ongoing administrative proceeding, the Second Circuit characterized the challenger’s claim

  as not wholly collateral even though it “sound[ed] in administrative procedure rather than

  statutory construction.” Tilton, 824 F.3d at 288. At the time that the court reached this

  conclusion, it was established that the remedy for a plaintiff bringing an Appointments

  Clause challenge is a new hearing before a constitutionally appointed officer. See Ryder v.

  United States, 515 U.S. 177, 188 (1995) (“Petitioner is entitled to a hearing before a properly

  appointed panel . . . .”). Nevertheless, the Second Circuit cited Elgin for the proposition that

  a “claim is not wholly collateral if it serves as the ‘vehicle by which’ a party seeks to prevail in

  an administrative proceeding.” Tilton, 824 F.3d at 287 (emphasis added) (quoting Elgin, 567

  U.S. at 22). Without even acknowledging the difference in remedy, the Second Circuit found

  the Appointments Clause challenge to be not wholly collateral to the SEC enforcement

  action because the constitutional claims “target[ed] an aspect of an ongoing administrative

  proceeding.” See Tilton, 824 F.3d at 288–89 (emphasis added). Thus, this Court is persuaded

  that a distinction between delaying that re-routes the case to a new ALJ and prevailing such

  that enforcement ends is not materially significant.

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         Given the paucity of analysis from the Supreme Court, lower courts have developed

  two different approaches. See id. at 287. Some find a constitutional claim wholly collateral

  when it is unconnected to the merits of the underlying dispute. See id. (citing Hill v. SEC, 114

  F. Supp. 3d 1297, 1309 (N.D. Ga. 2015), vacated and remanded, 825 F.3d 1236; Duka v. U.S.

  SEC, 103 F. Supp. 3d 382, 391 (S.D.N.Y. 2015), abrogated by Tilton, 824 F.3d 276)). Others

  find that a claim is wholly collateral only where it is also procedurally disconnected from an

  ongoing administrative adjudication. See id. (citing Jarkesy, 803 F.3d at 23; Bebo v. SEC, No.

  15-C-3, 2015 WL 905349, at *2–4 (E.D. Wis. Mar. 3, 2015), aff’d, 799 F.3d 765). This Court

  believes that the former approach improperly ignores the modifier “wholly.” When raised in

  response to ongoing administrative proceedings, separation-of-powers claims are always

  disconnected from the merits and so, under the first approach, would always be “wholly

  collateral.” However, the Supreme Court did not instruct lower courts to ask whether the

  constitutional claim is collateral to the statutory claim, but rather whether the constitutional

  claim is collateral “to a statute’s review provisions.” Elgin, 567 U.S. at 15 (quoting Free Enter.

  Fund, 561 U.S. at 489). As the first interpretation would deprive the word “wholly” of any

  meaning and improperly compare the constitutional claims to other claims rather than to the

  review process itself, this Court declines to follow those courts that have taken this position.

         Instead, this Court holds that claims which arise prior to or separately from an agency

  adjudication are wholly collateral while those arising within and in response to that

  adjudication are not wholly collateral. See Bennett, 844 F.3d at 187; Jarkesy, 803 F.3d at 23.

  Essentially, Morris & Dickson asks this Court to craft an exception for constitutional

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  challenges to agency structure. This argument is not without some force. Other courts to

  have considered claims that an agency’s adjudicative process violates structural guarantees in

  the Constitution (as opposed to other sorts of constitutional rights) have found that it is a

  close question whether those claims are wholly collateral to the administrative adjudication.

  See Hill, 825 F.3d at 1251; Bebo, 799 F.3d at 774.12 Nevertheless, this Court believes that

  resting jurisdiction on the distinction between specific types of constitutional claims is

  problematic. See Jarkesy, 803 F.3d at 24–25 (citing Elgin, 561 U.S. at 15). The Supreme Court

  has refused to hinge subject matter jurisdiction on the distinction between facial and

  as-applied claims, Elgin, 567 U.S. at 15 (citing Citizens United v. FEC, 558 U.S. 310, 331

  (2010)), and has also noted the absence of authority for the proposition that an

  “Appointments Clause or separation-of-powers claim should be treated differently than

  every other constitutional claim,” Free Enter. Fund, 561 U.S. at 491 n.2. While this latter

  observation did not address jurisdiction but rather the existence of an implied right of action,

  see id., it does suggest that the Supreme Court may be disinclined to differentiate various types

  of constitutional claims in procedural contexts.

         The requirement that certain claims be raised in agency adjudications before Article

  III courts get involved is “fundamental to administrative law.” Bebo, 799 F.3d at 775. As the

  Fourth Circuit has aptly observed, excepting a subset of constitutional claims “would provide

  no limiting principle: Anyone could bypass the judicial review scheme established by



         12  Even in these cases the courts have still concluded that the district courts lacked
  jurisdiction. See Hill, 825 F.3d at 1252; Bebo, 799 F.3d at 775.

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  Congress simply by alleging a constitutional challenge and framing it as ‘structural,’

  ‘prophylactic,’ or ‘preventative.’” Bennett, 844 F.3d at 188. Litigants with sufficiently creative

  counsel could thus postpone inconvenient participation in an administrative process by

  running to district court armed with a “constitutional” objection. 13 Even if the objection

  were frivolous, it would effectively derail the administrative process for the time required for

  judicial review of the constitutional claim; in this district and circuit that review currently

  takes an average of twenty-one months.14 If such delays became common, Congress could

  no longer rely on agencies to do what it created them to do—enforce Acts of Congress.

         This Court agrees that the question of whether Morris & Dickson’s

  separation-of-powers claims are wholly collateral to the registration-revocation proceeding is

  somewhat close. See Hill, 825 F.3d at 1251; Bebo, 799 F.3d at 774. Nevertheless, in light of the

  policy problem created by crafting a “constitutional claim” exception to Congress’s ability to

  channel initial review through agencies, the Court finds that Morris & Dickson’s

  separation-of-powers claims are not “wholly collateral” to the proceeding before Judge


         13 Cf. Jarkesy, 803 F.3d at 25 (“Yet an exception to an otherwise exclusive scheme for
  constitutional challenges in general, or facial attacks on a statute in particular, or some other
  as-yet-undefined category of constitutional claims, would encourage respondents in
  administrative enforcement proceedings to frame their challenges to the Commission’s
  actions in those terms and thereby earn access to another forum in which to advance their
  arguments. We doubt Congress intended that result.”).
         14   This statement is based on the average time to disposition for the year ending
  September 30, 2018. Comparison of Districts Within the Fifth Circuit, U.S. Cts. 5
  http://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distcomparison0930.201
  8.pdf (last visited December 20, 2018); Federal Court Management Statistics–Profiles, U.S. Cts. 14,
  http://www.uscourts.gov/sites/default/files/data_tables/fcms_na_appprofile0930.2018.pdf
  (last visited December 20, 2018).

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  Dorman because they were raised in an attempt to delay or defeat administrative

  enforcement of the CSA.

                    c. “Agency Expertise” Factor

         The final Thunder Basin factor requires this Court to consider whether Morris &

  Dickson’s separation-of-powers claims are outside of the DEA’s expertise. See Elgin, 567 U.S.

  at 15 (quoting Free Enter. Fund, 561 U.S. at 489). There is a tension between Free Enterprise

  Fund and Elgin in this regard. In the former case, the Supreme Court held that agency

  expertise does not extend to “standard questions of administrative law,” which would seem

  to include the appointment and removal challenges at issue here. 561 U.S. at 491. However,

  in Elgin, the Court appeared to accept that a constitutional claim that an agency could not or

  would not decide might fall within that agency’s expertise if the agency could resolve the

  matter in favor of the regulated person on alternate grounds. 567 U.S. at 22–23. Although

  the Fifth Circuit has yet to interpret this portion of Elgin, the Second, Fourth, Seventh, and

  Eleventh Circuits have construed it to mean that if a favorable agency decision in the

  enforcement proceeding would moot the constitutional claim, then agency expertise can be

  usefully brought to bear on that claim. Tilton, 824 F.3d at 290; see also Bennett, 844 F.3d at

  187–88; Hill, 825 F.3d at 1250; Bebo, 799 F.3d at 773. This is true even when the

  constitutional claim is a threshold question that “attack[s] the process rather than the result”

  of the administrative adjudication. Jarkesy, 803 F.3d at 25. If the agency finds in favor of the

  regulated person, there is no need for the courts to decide potentially far-reaching




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  constitutional questions. See id. (citing Ashwander v. Tenn. Valley Auth. 297 U.S. 288, 346–47

  (1936) (Brandeis, J., concurring)).

         If the DEA Administrator finds that Morris & Dickson complied with the CSA, then

  this Court will avoid the constitutional question. This is particularly significant where, as

  here, a decision in Morris & Dickson’s favor on the merits might call into question the

  constitutionality of all ongoing enforcement actions involving DEA ALJs. Therefore, in line

  with the persuasive authority of other courts to have considered similar questions, this Court

  finds that the possibility that a favorable decision at the agency level may moot Morris &

  Dickson’s constitutional claim is an application of the DEA’s expertise in enforcing and

  interpreting the CSA.

         Each of the Thunder Basin factors weighs in favor of finding that Morris & Dickson’s

  claims are of the type that Congress intended to channel through the review procedure

  established in the CSA. Because it is also fairly discernable that Congress intended claims

  arising during proceedings to revoke DEA registrations to pass from the DEA to an appeals

  court, this Court concludes that it lacks jurisdiction to entertain Morris & Dickson’s

  constitutional claims.

  IV.    Conclusion

         It is fairly discernable from the CSA that Congress intended that disputes over

  registrations to distribute controlled substances be reviewed in an appeals court after the

  matter is adjudicated by the DEA. See 21 U.S.C. § 877. Because Morris & Dickson is already

  involved in that adjudication, if the company awaits the conclusion of the administrative

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  proceeding, it will then have access to a judicial forum where it will receive meaningful

  review of its constitutional claims. Although these claims are collateral to the question of

  Morris & Dickson’s compliance with the CSA, they were raised in response to the revocation

  proceeding and so are not wholly collateral to the administrative process. And while the

  DEA might not pass upon the correctness of Morris & Dickson’s constitutional claims, if the

  DEA finds in Morris & Dickson’s favor, then the agency’s expertise will have “obviate[d] all

  occasion for judicial review.” Standard Oil, 449 U.S. at 244 n.11. The Second, Fourth,

  Seventh, and Eleventh Circuits have all concluded that district courts lack jurisdiction over

  separation-of-powers challenges to ongoing administrative enforcement when interpreting

  the provision of the Securities Exchange Act analogous to § 877 of the CSA. See Bennett, 844

  F.3d at 188; Hill, 825 F.3d at 1252; Tilton, 824 F.3d at 291; Bebo, 799 F.3d at 775. In light of

  that persuasive authority and in the absence of contrary Fifth Circuit precedent, this Court

  concludes that the CSA precludes jurisdiction over Morris & Dickson’s separation-of-powers

  claims.

            This Court does not wish to minimize the time, effort, and expense that Morris &

  Dickson will incur in the process of defending its DEA registrations. Yet, as the Seventh

  Circuit has observed:

            Every person hoping to enjoin an ongoing administrative proceeding could
            make this argument, yet courts consistently require plaintiffs to use the
            administrative review schemes established by Congress. It is only in the
            exceptional cases . . . where courts allow plaintiffs to avoid the statutory review
            schemes prescribed by Congress. This is not such a case.




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  Bebo, 799 F.3d at 775 (internal citations omitted). And neither is Morris & Dickson’s. Because

  this Court lacks jurisdiction to consider claims that Judge Dorman was unconstitutionally

  appointed and is unconstitutionally shielded from removal, this matter must be dismissed.15

         IT IS ORDERED that all claims by Morris & Dickson are DISMISSED

  WITHOUT PREJUDICE for lack of jurisdiction.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this _____
                                                              28th day of

     December
  ____________________,   2018
                        _________.


                                                    __________________________
                                                    ELIZABETH ERNY FOOTE
                                                    UNITED STATES DISTRICT JUDGE




          Because this Court determines that it lacks jurisdiction, the Court will not consider
         15

  Defendants’ alternative argument that this matter is not ripe for adjudication.

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